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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                    Chapter 11
AGWAY FARM & HOME SUPPLY, LLC,1                           Case No. 22-10602 (JKS)
                         Debtor.                          Objection Deadline: July 27, 2022 at 4:00 p.m. (ET)
                                                          Hearing Date: August 3, 2022 at 2:00 p.m. (ET)

         DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
           AND APPROVING THE EMPLOYMENT OF MORRIS JAMES LLP
           AS COUNSEL TO THE DEBTOR NUNC PRO TUNC TO JULY 5, 2022

         The above-captioned debtor and debtor-in-possession (the “Debtor”), by and thorough

their proposed counsel, file this application (the “Application”) for entry of an order,

substantially in the form attached hereto as Exhibit A (the “Proposed Order”), pursuant to section

327(a), 328 of title 11 of the United States (the “Bankruptcy Code”), Rule 2014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”) authorizing the Debtor to retain and employ Morris James LLP

(“Morris James”) as counsel to the Debtor nunc pro tunc to July 5, 2022. In support of this

Application, the Debtor submits the Declaration of Jay Quickel (the “Quickel Declaration”), a

copy of which is attached hereto as Exhibit B and incorporated herein and in support of this

Application, the Debtor additionally relies on the Declaration of Jay Quickel in Support of First

Day Motions [D.I. 10] (the “First Day Declaration”), and the declaration of Jeffrey R. Waxman

of Morris James LLP (the “Waxman Declaration”), attached hereto as Exhibit C. In support of

the Application, the Debtor respectfully represent as follows:




1
 The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.



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                                        JURISDICTION

        1.     This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference entered by the United States District Court

for the District of Delaware on February 29, 2012. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2), and pursuant to Local Rule 9013-1(f), the Debtor consents to

the entry of a final order by the Court in connection with this Application to the extent that it is

later determined that the Court, absent consent of the parties, cannot enter final orders or

judgments in connection herewith consistent with Article III of the United States Constitution.

        2.     Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§ 1408 and 1409.

        3.     The statutory bases for the relief requested herein are section 327(a) of the

Bankruptcy Code, Bankruptcy Rule 2014, and Rule 2014-1 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy for the District of Delaware.

                                        BACKGROUND

        4.     On July 5, 2022 (the “Petition Date”), the Debtor filed its voluntary petition for

relief under Chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”),

commencing this Chapter 11 case (the “Chapter 11 Case”).

        5.     The Debtor has continued in the possession of their property and have continued

to operate and manage its business as debtor in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code.




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                                    RELIEF REQUESTED

        6.      By this Application, the Debtor seeks to employ and retain Morris James, as

counsel to the Debtor nunc pro tunc to July 5, 2022, to perform legal services that will be

necessary or appropriate during this case and granting certain related relief.       Substantially

contemporaneously, the Debtor is seeking to employ and retain Shulman Bastian Friedman &

Bui LLP (“SBF&B”) as co-counsel for the Debtor.

        7.      The Debtor seeks to retain Morris James as counsel because of Morris James’

experience and knowledge in the field of business reorganizations under Chapter 11 of the

Bankruptcy Code, and because of Morris James’ experience and knowledge practicing before

this Court.

        8.      Subject to Court approval in accordance with section 330(a) of the Bankruptcy

Code, compensation will be payable to Morris James on an hourly basis, plus reimbursement of

actual, necessary expenses and other charges incurred by Morris James. The principal attorneys

and paralegals presently expected to represent the Debtor are as follows:

         Individual                       Position                          Hourly Rate
         Jeffrey R. Waxman                Partner                            $750.00
         Brya M. Keilson                  Partner                            $675.00
         Jason Levin                      Associate                          $395.00
         Stephanie Lisko                  Paralegal                          $295.00
         Douglas Depta                    Paralegal                          $295.00

         The hourly rates set forth above are subject to periodic adjustments to reflect economic

and other conditions. Other attorneys and paralegals employed by Morris James may from time

to time serve the Debtor in connection with the matters herein described.

        9.      These rates are set at a level designed to fairly compensate Morris James for the

work of its attorneys and paralegals and to cover fixed and routine overhead expenses. Morris

James will also charge for normal and customary expenses incurred in connection with this


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Chapter 11 Case.       The expenses charged may include, among other things, ECF charges,

telephone and telecopy charges, mail and express mail charges, special or hand delivery charges,

document retrieval, photocopying charges, charges for mailing supplies (including, without

limitation, envelopes and labels) provided by Morris James to outside copying services for use in

mass mailings, travel expenses, expenses for “working meals,” computerized research,

transcription costs, as well as non-ordinary overhead expenses such as secretarial and other

overtime. Any such expenses will be recorded in accordance with the Morris James’ customary

practices and will be incurred at the same rates as customarily charged in similar engagements,

or as otherwise limited by the Local Rules or any order of the Court.

        10.      Subject to Court approval, the professional services that Morris James will render

to the Debtor include, but shall not be limited to, the following:

              a. provide legal advice with respect to the Debtor’s powers and duties as
                 debtor in possession in the continued operation of their business,
                 management of their properties and related matters;

              b. preparing and pursing confirmation of a plan and approval of disclosure
                 statement;

              c. prepare necessary applications, motions, answers, orders, reports and other
                 legal papers on behalf of the Debtor;

              d. appearing in Court and protecting the interests of the Debtor before the
                 Court; and

              e. perform all other legal services for the Debtor that may be necessary and
                 proper in these proceedings.

        11.      In addition to the services listed above, Morris James, in accordance with its

obligations as counsel, will, prepare and review, all pleadings, motions, responses, objections

and other documents prepared on behalf of the Debtor and attend all court hearings and other

related proceedings. Morris James will assure that any pleadings comply with the Local Rules.



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Morris James will advise the Debtor on matters of Delaware practice and procedure and

Delaware law.

        12.     Morris James has conducted a review of potential conflicts with respect to all

known creditors and equity holders of the Debtor’s estates that have been identified to date by

the Debtor. Subject to further review and supplementation as required by Bankruptcy Rule 2014

and Local Bankruptcy Rule 2014-1, the potential conflicts identified by Morris James’ conflict

check are listed on Exhibit 1 to the Waxman Declaration. To the extent required, Morris James

will periodically update its disclosures.

        13.     To the best of the Debtor’s knowledge, and except as disclosed herein and in the

Waxman Declaration, neither Morris James, nor any of its partners, of counsel or associates,

represents any interest adverse to the Debtor, its estate, its creditors or the Committee, in the

matters upon which Morris James is to be engaged. Brya M. Keilson, Partner at Morris James,

was a trial attorney at the Office of the United States Trustee for Region 3 (the “United States

Trustee”) until March 13, 2019. Ms. Keilson did not have any involvement with the Debtor

during her tenure at the United States Trustee. Morris James is a “disinterested person,” as the

Debtor understand this term to be defined, within the meaning of section 101(14) of the

Bankruptcy Code.

        14.     To the best of the Debtor’s knowledge, and except as disclosed in the annexed

Waxman Declaration, Morris James has no prior connection with the Debtor, its creditors or any

other party-in-interest, or their respective attorneys or accountants, in the matters upon which it

is to be engaged that would in any way disqualify it from representing the Debtor.

        15.     Prior to the Petition Date, Morris James received payments totaling $214,479.50

(the “Prepetition Payments”), of which $ 79,479.50 was applied to services and expenses



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incurred prior to the Petition Date, and the remaining $135,000.00 (the “Retainer”).           The

Prepetition Payments were utilized to cover fees and expenses actually incurred, as well as

anticipated to be incurred, prior to, and in the connection with, the Debtor’s restructuring and the

commencement of the Chapter 11 Case and as security to postpetition services and expenses.

The Debtor proposes that the Retainer be held and paid to Morris James after entry of a final

order. Given the extensive nature of the services that Morris James will provide to the Debtor,

the continued maintenance of the Retainer by Morris James is appropriate and necessary to

enable the Debtor to faithfully execute their duties as counsel to the Debtor.         The Debtor

proposes that the Retainer be held and paid to Morris James after entry of a final order. Given

the extensive nature of the services that Morris James will provide to the Debtor, the continued

maintenance of the Retainer by Morris James is appropriate and necessary to enable the Debtor

to faithfully execute their duties as counsel to the Debtor.

        16.    The Debtor believes that, in light of Morris James’ familiarity with the facts of

this Chapter 11 Case, its understanding and knowledge of the Debtor’s business issues, and its

extensive experience before this Court, Morris James is well-suited to provide legal services to

the Debtor.

        17.    The Debtor requests that any order entered authorizing such retention be effective

as of the Petition date of July 5, 2022.

                                             NOTICE

        18.    Notice of this Application has been given to (i) the United States Trustee; (ii) the

Debtor’s twenty (20) largest unsecured creditors; and (iii) those persons who have requested

notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of the nature of the

relief requested, no other or further notice need be given.



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                                         NO PRIOR REQUEST

        19.       No previous application for the relief requested herein has been made to this or

any other Court.

                  WHEREFORE, the Debtor requests entry of an Order substantially in the form

attached hereto, authorizing the Debtor to employ and retain Morris James as counsel for the

Debtor, nunc pro tunc to July 5, 2022, and granting such other and further relief as is just and

proper.


Dated: July 13, 2022                           Agway Farm & Home Supply, LLC

                                               /s/ __________________________
                                               Jay Quickel
                                               President and Chief Executive Officer




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